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IN THE UNITED sTATEs DISTRICT coURT ’“"~»?"-‘»ED l mg

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FOR THE WESTERN DISTRICT oF TENNESSEE ll r
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CHARLES LAMARCO TANZY ,
Plaintiff,
vs. NO. 04~2773-Ml/V

CITY OF GALLOWAY, et al. ,

Defendants.

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ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff, Charles La Marco Tanzy, a resident of Galloway,
Tennessee, filed a complaint under 42 U.S.C. § 1983 naming the City
of Galloway, Mayor Layton Wiston, Fayette County, and Officer Billy
Phillips as defendants and alleging that he was subjected, to
malicious prosecution pursuant to an order of a local housing
authority. On March 15, 2005, the Court directed plaintiff to file
an amended complaint containing facts explaining what charges or
citations were placed against him as a result of his arrest on
September' 27, 2003. Plaintiff was also directed to amend. his
complaint to state the disposition of those charges.

On April 4, 2005, plaintiff filed his amended complaint with
attachments. The amended complaint and documents reveal that

plaintiff was charged with one count of possession of a prohibited

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with Hule 58 and/or 79(a} FRCP on__L____

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weapon, two counts of criminal trespass, and one count of
disorderly conduct. Plaintiff alleges that he pled guilty to the
charge of disorderly conduct “because it was in [his] best interest
[sic].” Plaintiff alleges that the remaining charges were
dismissed. The attached judgments reveal that the weapons charge
was dismissed upon plaintiff's forfeiture of the weapon and that
plaintiff is “restrained from.GalloWay Federal Housing Authority.”

Plaintiff has no claim against the defendants for malicious
prosecution, false arrest, or other constitutional violations until
he can demonstrate that his guilty plea has been reversed on direct
appeal, expunged by executive order, declared invalid by a state
tribunal authorized to make such determination, or called into
question by a federal court's issuance of a writ of habeas corpus,
28 U.S.C. § 2254. See Heck v. Humphrev, 512 U.S. 477, 486~87
(1994); Schilling v. White, 58 F.3d lOBl, 1085 (6th Cir. 1995}.
Thus, §eg§ applies to bar plaintiff's claims against any defendant.
Any claims he may possess may yet accrue if plaintiff has his
conviction overturned on direct appeal or via collateral attack.

Accordingly, this complaint fails to state a claim upon which
relief can be granted and is DISMISSED pursuant to Fed. R. Civ. P.
lZ(h)(3) and 28 U.S.C. § l9lB(e)(2)(B)(ii).

The final issue to be addressed is whether plaintiff should be
allowed to appeal this decision in fgrma pauperis. Twenty-eight

U.S.C. § l9l§(a)(3) provides that an appeal may not be taken ig

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fg;ma pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). Accordingly, it would be
inconsistent for a district court to determine that a complaint
fails to state a claim upon which relief may be granted, yet has
sufficient merit to support an appeal in fg;mg pauperis. §e§
Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). The
same considerations that lead the Court to dismiss this case for
failure to state a claim also compel the conclusion that an appeal
would be frivolous.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith and plaintiff may not proceed on appeal in fp;ma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, ll4 F.3d 601 (6th Cir. 1997), and Floyd v. United
States Postal Serv., 105 F.3d 274 (6th Cir. 1997), apply to any
appeal filed by the plaintiff in this case.

If plaintiff files a notice of appeal, he must pay the entire
$255 filing fee required by 28 U.S.C. §§ 1913 and 1917. The entire
filing fee must be paid within thirty days of the filing of the
notice of appeal.

By filing a notice of appeal the plaintiff becomes liable for

the full amount of the filing fee, regardless of the subsequent

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progress of the appeal. If the plaintiff fails to comply with the
above assessment of the appellate filing fee within thirty days of
the filing of the notice of appeal or the entry of this order,
whichever occurred later, the district court will notify the Sixth
Circuit, which will dismiss the appeal. If the appeal is
dismissed, it will not be reinstated once the fee is paid. McGore,

114 F.3d at 610.

lT 15 SO ORDERED this Z| day of May, 2005.

/QM@ Ml`i`lii
PHIPPS MCCALLA
UO TED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 6 in
case 2:04-CV-02773 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

 

Charles Lamarco Tanzy
P.O. Box 252
Galloway, TN 38036

Honorable J on McCalla
US DISTRICT COURT

